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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE

                      Plaintiff,
                                                   15 Civ. 7433 (LAP)
-against-
                                                          ORDER
GHISLAINE MAXWELL,

                      Defendant.


LORETTA A. PRESKA, Senior United States District Judge:

     The    parties   are   directed       to   prepare   for   unsealing   in

accordance with the Court’s order of July 23, 2020, (ECF Minute

Entry, dated July 23, 2020), the documents listed in Exhibit A to

Plaintiff Virginia Giuffre’s Opposition to Defendant Ghislaine

Maxwell’s Objections to Unsealing Docket Entries 143, 164, 172,

199, & 230, (dkt. no. 1068-1).     Counsel shall file those documents

on the public docket, under a heading of “Documents Ordered

Unsealed by Order of July 23, 2020,” no later than July 30, 2020.

The Court incorporates its rulings specific to each document--

which are set forth in the transcript of the July 23 proceedings

--herein.

SO ORDERED.

Dated:      New York, New York
            July 28, 2020


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LORETTA A. PRESKA
Senior United States District Judge

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